 

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

UNITED STATES OF AMERICA

V.

No. 4:22-MJ-866-BP

RANDALL ALLAN TAYLOR (01)

JOINT MOTION TO CONTINUE TIME TO INDICT

The Government and the Defendant, RANDALL ALLAN TAYLOR, jointly

request this Honorable Court to continue the time upon which an indictment must be filed

for this particular case.

(1)

(2)

(3)

The Government filed a criminal complaint against the defendant on,
October 21, 2022, alleging a violation of 21 U.S.C. § 846 (21 U.S.C. §§
841(a)(1) and (b)(1)(B)), Conspiracy to Possess with Intent to Distribute a
Controlled Substance.

RANDALL ALLAN TAYLOR, appeared before the Honorable Hal R.
Ray, Jr. on October 21, 2022. A detention and preliminary hearing were
held simultaneously on October 27, where the defendant was ordered
released/detained pending trial by the Honorable Hal R. Ray, Jr. on this
date.

Under the Speedy Trial Act, 18 U.S.C. § 3161(b), an indictment must be
returned on the instant charge “within thirty days from the date on which
[the Defendant] was arrested or served with a summons in connection with

such charges.”

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This 30th day will fall on or about November 21, 2022, not taking into
account any excludable time, pursuant to 18 U.S.C. § 3161(h)(1)(H), and
Federal Rule 45(a).

(4) The parties request that the Court continue presentation of the Defendant’s
case to the Grand Jury for an additional 24 days. Both parties believe with
additional time in which to gather information about the Defendant and the
circumstances surrounding the events leading to the pending case that the
case may be resolved pre-indictment thereby negating the need for the
government to present the case to the grand jury.

(5) Therefore, the granting of this continuance would be in the interest of
judicial economy. Both parties further believe that a continuance would
serve the ends of justice and would outweigh the interest of the public in a
speedy trial. See 18 U.S.C. § 3161(h)(7)(A).

(6) This request is not made in effort to unduly delay the proceedings, but
rather to insure that justice is achieved. The parties both believe that a
failure to grant the requested continuance would deny the parties the time
necessary for effective preparation, taking into account the exercise of due
diligence. See 18 U.S.C. § 3161(h)(7)(B)(iv). As such, return of the
indictment within the normal 30 day period could result in a miscarriage of

justice. See 18 U.S.C. § 3161(h)(7)(B)V).

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(7) For the foregoing reasons, the parties request that this Honorable Court

continue the time upon which an indictment must be filed for an additional

24 days, until on or about December 15, 2022.

AGREED TO BY:

ALL ALLAN TAYLOR
Defendant

KEM Lb

BRETT D. BOONE
Attorney for Defendant

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Respectfully submitted,

CHAD E. MEACHAM
UNITED STATES ATTORNEY

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NV | h—
AUT

AGN Sharia

Assistant United States Attorney
